                                       UNITED STATES DISTRICT COURT
                                        MIDDLE DISTRICT OF FLORIDA
                                              TAMPA DIVISION

  TONY PADGETT,                                                  CASE NO: 8:21-cv-02509-WFJ- AEP
  v.                                                             DECLARATION OF MAILING
  HEALTHCARE REVENUE RECOVERY GROUP,                             CERTIFICATE OF SERVICE
  LLC.




On 11/8/2021, I did cause a copy of the following documents, described below,
Summons, Padgett v. Healthcare Revenue Recovery Group, LLC
Complaint, Padgett v. Healthcare Revenue Recovery Group, LLC
Exhibit 1
Exhibit 2




to be served for delivery by the United States Postal Service, via First Class United States Mail, postage prepaid, with
sufficient postage thereon to the parties listed on the mailing list exhibit, a copy of which is attached hereto and
incorporated as if fully set forth herein.
I caused these documents to be served by utilizing the services of BK Attorney Services, LLC d/b/a certificateofservice.
com, a Administrative Office of the United States Bankruptcy Court, Approved Notice Provider. A copy of the declaration of
service is attached hereto and incorporated as if fully set forth herein.

DATED: 11/8/2021
                                                          /s/ Frank T. Papa
                                                          Frank T. Papa 150355
                                                          fpapa@robertgellerlaw.comLaw Offices of Robert M. Geller, P.A.
                                                          807 West Azeele Street
                                                          Tampa , FL 33606
                                                          813 254 5696
                                      UNITED STATES DISTRICT COURT
                                       MIDDLE DISTRICT OF FLORIDA
                                             TAMPA DIVISION
TONY PADGETT,                                                    CASE NO: 8:21-cv-02509-WFJ- AEP
v.                                                               CERTIFICATE OF SERVICE
HEALTHCARE REVENUE RECOVERY GROUP,
LLC.




On 11/8/2021, a copy of the following documents, described below,
Summons, Padgett v. Healthcare Revenue Recovery Group, LLC
Complaint, Padgett v. Healthcare Revenue Recovery Group, LLC
Exhibit 1
Exhibit 2




were deposited for delivery by the United States Postal Service, via First Class United States Mail, postage prepaid, with
sufficient postage thereon to the parties listed on the mailing list exhibit, a copy of which is attached hereto and incorporated
as if fully set forth herein.

The undersigned does hereby declare under penalty of perjury of the laws of the United States that I have served the above
referenced document(s) on the mailing list attached hereto in the manner shown and prepared the Certificate of Service and
that it is true and correct to the best of my knowledge, information, and belief.

DATED: 11/8/2021




                                                              /s/ Jay S Jump
                                                              BK Attorney Services, LLC
                                                              d/b/a certificateofservice.com, for
                                                              Frank T. Papa
                                                              Law Offices of Robert M. Geller, P.A.
                                                              807 West Azeele Street
                                                              Tampa , FL 33606
PARTIES DESIGNATED AS "EXCLUDE" WERE NOT SERVED VIA USPS FIRST CLASS MAIL
PARTIES WITH A '+' AND DESIGNATED AS "CM/ECF E-SERVICE" RECEIVED ELECTRONIC NOTICE THROUGH THE CM/ECF SYSTEM

CERTIFIED 7021 0950 0000 7131 3564        CERTIFIED 7021 0950 0000 7131 3571
DAVID M FRIEDLANDER,                      HEALTHCARE REVENUE RECOVERY GROUP,
PRESIDENT, HEALTHCARE REVENUE RECOVERY    LLC.,
GROUP, LLC.                               C/O CORPORATION SERVICE COMPANY
1643 NORTH HARRISON PARKWAY BUILDING H,   1201 HAYS STREET
SUITE 100                                 TALLAHASSEE FL 32301-2525
SUNRISE FL 33323
